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                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



UNITED STATES OF AMERICA,                        )    CASE NO. 1:16 CR 304-4
                                                 )
                       Plaintiff,                )    JUDGE CHRISTOPHER A. BOYKO
                                                 )
       v.                                        )    MAGISTRATE JUDGE
                                                 )    WILLIAM H. BAUGHMAN, JR.
TRISTAN INGRAM,                                  )
                                                 )
                       Defendant.                )    REPORT & RECOMMENDATION



       Pursuant to General order 99-49, this matter having been referred to United States Magistrate

Judge William H. Baughman, Jr. for purposes of receiving, on consent of the parties, the defendant’s

offer of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a

verbatim record of the proceedings to be prepared, referring the matter, if appropriate, for

presentence investigation, and submitting a Magistrate Judge’s Report and Recommendation stating

whether the plea should be accepted and a finding of guilty entered, the following, along with the

transcript or other record of the proceedings submitted herewith, constitutes the Magistrate Judge’s

Report and Recommendation concerning the plea of guilty proffered by the defendant.

       1.      On May 9, 2017, the defendant, accompanied by counsel, proffered a plea of guilty.

       2.      Prior to such proffer, the defendant was examined as to his/her competency, advised

               of the charge and consequences of conviction, informed that the Court will be

               required to give consideration to the Federal Sentencing Guidelines and of the

               possibility of a departure from the Guidelines, notified of his/her rights, advised that

               he/she was waiving all his/her rights except the right to counsel, and, if such were
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                the case, his/her right to appeal, and otherwise provided with the information

                prescribed in Fed. R. Crim. P. 11.

        3.      The parties and counsel informed the Court about any plea agreement between the

                parties, the undersigned was advised that, aside from such agreement as described

                or submitted to the Court, no other commitments or promises have been made by any

                party, and no other agreements, written or unwritten, have been made between the

                parties.

        4.      The undersigned questioned the defendant under oath about the knowing, intelligent,

                and voluntary nature of the plea of guilty, and finds that the defendant’s plea was

                offered knowingly, intelligently, and voluntarily.

        5.      The parties provided the undersigned with sufficient information about the charged

                offense(s) and the defendant’s conduct to establish a factual basis for the plea.

        In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

recommends that the plea of guilty be accepted and a finding of guilty be entered by the Court.


Dated: May 9, 2017                                      s/ William H. Baughman, Jr.
                                                        United States Magistrate Judge


                                              Objections

        Any objections to this Report and Recommendation must be filed with the Clerk of Courts
within fourteen (14) days of receipt of this notice. Failure to file objections within the specified time
waives the right to appeal the District Court’s order.1




        1
       See United States v. Walters, 638 F.2d 947 (6th Cir. 1981). See also Thomas v.
Arn, 474 U.S. 140 (1985), reh’g denied, 474 U.S. 1111 (1986).
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